Case 1:04-cr-10091-.]DT Document 53 Filed 07/28/05 Page 1 oUEM@S<-?MW

\\C.FA 24 AUTHORIZAT]ON AND VOUCHER FOR PAYMENT OF TR.ANSCREPT (Rc\'. 5/99)

 

 

 

 

 

 

 

 

 

li CIR.IDISTJ DIV. CODE 2. I’ERSON REI’RESEN'['ED VOUCHER NUMBF.R
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3. MAG. DKT.."DEF.N'UMBER 4, DIST.DKT.DEF,NQ_MBER ‘ ""~ - 51 Ai’_PE_A!:`S QKTJDEF,NUMBER 6. OTHER DKT.NUMBER
15046!"1[}@9`1-1 - ` " ' “' "' "'05-5688

7. I`N CASEMATTER OF {'Case Name) B. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED 10. REPRESENTATION TYPE

[xj Felony |_`_| Petty Offense l:| Adn[t Def`endaut Er] Appellant (Sea inszmcnans)
USA v. McCOmic ij Misdemeanor l:| Oti\er [] Jlivenile Defendam l;i Appeiic= CC

|:i Appeal [J Olbcr

11. OFFENSE(S) CHARGED (Citc U,S. Cod:, Tit]e & Secrinn) Ifmmie than one ajjreh.se, fist (r:p fafivc} mayor oj]iemes chargedl according m .reveri.fv of offense

21 U.S.C. § 841(5)(1)

 
  
 
    

 

 

   

   

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12. PROCEEDING IN wHICH TRANSCRIPT ls 'rO BE UsF.D (D.:smb¢
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13. PROCEED[NG TO BE TKANSCRIBED (Dercrrbr speci;‘?m!iy). NOTE.' Ti:e lriai ir'ansrripr.r are hal to inc-hide pro.reclrr.'un opening srmc:men"r,@é)@‘_'q§§ openi@arar:re-
prasec'nm)n argrrmem, defense argurnem pmse union )'chu.'fai, voir dire nr_,r'wry ihsrmcriom. unless specijicah’y arr:hor.l:.'ed by the Cnrir! (sei_{£e§r'_}§{]."~\

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Sentenclng for Aprl| 12. 2005 before .ludge James D. Todd g;._)¢_-> §§ z
rid ;`_i'fr . ,_,

14. sPECIAL AuTHoRJzATloNs `~Z" g j D`)GE,S mls
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A. Apportioned % of transcript with (Gx've case name and defendam') ' 01 _O

 

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C. l:| Prosecution Opening Statement |] Prosecutinn Argument l:| Pmsecutinn Rebutt,ul
[”J Defcnse 0 enin Statement El Defensc Ar ument l'_'i Vm`r Dirc El J Instructions
D. ln this maid-defendant case, commercial duplication of transcripts will impede the del ivery of accelerated transcript services 10

@rsons groceeding under the Criminai justice Aci.

 

 

 

 

  
 
  

 

 

 

.I.S. ATTORNEY'S STATEMENT 16. COURT OR_DER
As the anomey fur the person represented who is managed abovc. 1 busby affirm that me Financia] eligibility of the person mpresented having been established en the Court‘s
transcript requested is necessary fur adequate representation I, therefore, request satisfaction the alcihorizau'un requested in I!cm 15 is hereby grantcd.
authori `on to obtain the transcript services ar the ex se ofthe United Scares pursuant
to the rin `na!.lustice Act. d
’ L/\/fj 7122/05 f 94 `“¢‘ E”
Signahrre of Attomey Date gn mrc ofPresiding Judicial Off'lccr or By Order of the Court
David W. Camp
Primed Name Nunc Pro Tune Date
Te]eph¢~me (73‘\) 664~4499

       
  
  

 

     
 

  

 

Ei Prmel Attomcy

 

 

ij Retained Alwrney l:l Pm-Sc |:| l_,egal Drganiznrian

   

   

18. PAYEE'S NAME. (Fir'sr Name, M.i'., La.w Name. irm!u:!mg any su_yixj, AND

MAILING ADDR.ESS

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19. SOCIAL SECUR]TY NUMBER OR EMPLOY`,ER [l`) NUMBER OF PAYEE

 

 

 

 

 

 

 

 

 

 

 

 

 

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21. CLA]MANT’S CERTIFICATION OF SERV]CE PROVIDED

!hcreby certify that tile above claim is for services rendered and is correct, and that l have not sought or received payment (‘compensar!on or anything ofvaiue) from any maher
source fur these services.

  

 

 
  
 
 

Signature of

 

 
 

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. APPROVED FOR PAYMENT

 
  

 

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Honorablc J ames Todd
US DISTRICT COURT

